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September 12, 2019

Via ECF

Honorable George J. Hazel
United States District Court, District of Maryland
Greenbelt Division
6500 Cherrywood Lane
Suite 445A
Greenbelt, MD 20770

    Re:    American Chemical Society et al. v. ResearchGate GmbH, No. 8:18-cv-03019-GJH

Dear Judge Hazel:

On behalf of Plaintiffs the American Chemical Society, Elsevier Inc., Elsevier Ltd., and Elsevier
B.V. (collectively, “Plaintiffs”) in the above-captioned action, we write regarding Defendant
ResearchGate GmbH’s (“ResearchGate”) failure to comply with requests for production.1 Six
months into discovery in this case, ResearchGate has yet to produce any documents. Further,
ResearchGate has asserted baseless objections in an attempt to shield its infringing conduct from
the light of day. Despite Plaintiffs’ good-faith attempts to resolve these disputes, including
numerous letters between counsel and several lengthy meet-and-confer calls, the Court’s
intervention is necessary. While we do not doubt the sincerity of ResearchGate’s counsel in
representing that they are working on a production, Plaintiffs cannot wait any longer. A
schedule is in place, the infringement is ongoing, and the case must move forward.

This case involves ResearchGate’s massive infringement of Plaintiffs’ copyrighted works.
Plaintiffs have asserted claims of direct infringement, induced infringement, contributory
infringement, and vicarious infringement against ResearchGate. Specifically, ResearchGate has
directly and intentionally infringed Plaintiffs’ copyrights by copying, distributing, and publicly
displaying on its website Plaintiffs’ copyrighted works without their authorization.
ResearchGate has engaged in secondary infringement by: inducing the uploading and
downloading of Plaintiffs’ copyrighted works; encouraging, causing, and materially contributing

1
 At the Rule 16 Scheduling Conference on February 28, 2019, the Court suggested that the
parties raise discovery disputes by letter, rather than by formal motion pursuant to L.R. 104.8
and 105. If the Court prefers a formal motion, Plaintiffs will proceed with a motion that
complies with L.R. 104.8 and 105.
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to the infringement with knowledge of the infringing activity; and obtaining a direct financial
benefit from the infringement while failing to exercise its right and ability to stop or limit it.

I.        ResearchGate must begin producing documents immediately.

On March 11, 2019, Plaintiffs served ResearchGate with Plaintiffs’ First Set of Interrogatories
and Plaintiffs’ First Request for Production of Documents. The parties met and conferred by
phone May 2-10, 2019, and again on August 20, 2019 and have exchanged several letters and
emails.

Plaintiffs have patiently and persistently tried to obtain discovery from ResearchGate. Plaintiffs
reached out several times to coordinate on a schedule to begin document productions on a rolling
basis, but received no response. While we understand that document production takes time, we
cannot wait indefinitely.2 More than six months have passed, and ResearchGate has not
produced any responsive documents.

By contrast, Plaintiffs have been working diligently to respond to ResearchGate’s discovery
requests. Plaintiffs produced approximately 17,000 documents, consisting of over 200,000 pages
and over 2,700 native files, on August 9, 2019 and continue to work on further productions.

The Court should order ResearchGate to produce documents immediately.

II.        ResearchGate has baselessly and inappropriately objected to producing certain
           documents.

Generally, Plaintiffs’ discovery requests seek documents relating to:

      •    The scope and extent of ResearchGate’s infringing activities;
      •    How ResearchGate obtained copies of Plaintiffs’ copyrighted works, including
           ResearchGate’s scraping, i.e., copying Plaintiffs’ copyrighted works from websites;
      •    What ResearchGate did with Plaintiffs’ copyrighted works once it obtained copies;
      •    ResearchGate tricking and encouraging users into uploading or downloading Plaintiffs’
           copyrighted works (or “claiming” a copy of an article that ResearchGate already copied
           onto its computer servers), including through website features, such as “request full-text”
           and “one-click upload,” and emails, marketing, and customer communications inducing
           infringing uploads via false notions of “self-archiving”;
      •    How ResearchGate built its business on infringing activities, including structuring its
           website around webpages that ResearchGate created (on its own initiative) for specific
           copyrighted journals, specific published journal articles, and specific authors; and
      •    ResearchGate’s knowledge of, intent with regard to, and financial benefit from the
           foregoing.

2
 On our most recent call on August 20, 2019, we informed ResearchGate’s counsel that we
would seek the Court’s assistance if ResearchGate did not produce documents soon. But, on
September 10, 2019, ResearchGate’s counsel stated it would send another letter but said nothing
about when it would produce documents.

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All of these requested documents are relevant and important to issues of liability or damages.
Yet, as discussed below, ResearchGate seeks to deny discovery that is basic for a copyright
infringement case by improperly limiting many of its discovery responses.3 Some of the
discovery disputes may be resolved after reviewing ResearchGate’s eventual productions; we do
not address those issues here.4 Instead, this letter seeks the Court’s assistance on the most urgent
issues, which are required to preclude ResearchGate from continuing to categorically withhold
discovery that is necessary and important to this case.

       A.      ResearchGate cannot reinvent itself for litigation and limit discovery to its
               “current” processes or policies.

In response to Plaintiffs’ requests for documents regarding ResearchGate’s infringing business
practices and the operation of its website, ResearchGate inappropriately limits many of its
discovery responses to its “current” processes or policies. See, e.g., ResearchGate’s Responses
and Objections to Plaintiffs’ First Request for Production of Documents Nos. 3-4, 6-7, 13, 16-17,
22, 25, 27-28, 36, 42-43, 50, 64. ResearchGate’s infringing conduct occurred over time, and the
processes and policies, whether current or past, that resulted in infringement are relevant and
highly important, both to liability and damages. As with current processes or policies, past
processes or policies show how and why infringement occurred. For example, such documents
would show the steps ResearchGate took to obtain copies of Plaintiffs’ copyrighted works,
ResearchGate’s design and use of various features on its website to induce and encourage users
to upload and download Plaintiffs’ copyrighted works, and the extent of ResearchGate’s role in
contributing to users’ infringement. Past processes or policies also may reveal ResearchGate’s
knowledge, intent, and right and ability to supervise and control the infringement, as well as its
efforts to build a business based upon copyright infringement.

ResearchGate cannot erase its actions over the course of time simply because it changed a
process or policy. By way of example, ResearchGate publicly displayed multi-page previews of
articles that it had already copied onto its servers at its own initiative, hoping that authors would
“claim” the article upon prompting, in which case ResearchGate would then display the full copy
of the article for viewing and downloading. That practice does not become irrelevant simply
because ResearchGate (perhaps recognizing the legal exposure) may have disabled this feature.
Another example concerns ResearchGate’s past processes and policies for scraping copies of
Plaintiffs’ copyrighted works off websites and copying them to its servers.

While ResearchGate has suggested it might reconsider Plaintiffs’ request for past processes and
policies on a request-by-request basis, ResearchGate has refused to withdraw its objection for
any request. This position is a stalling tactic.

The Court should compel ResearchGate to produce documents responsive to Plaintiffs’ requests
without withholding responsive documents concerning past processes or policies.


3
  In the interest of not burdening the Court with unnecessary paper, we omitted copies of the
parties’ written discovery and correspondence but can submit them upon request.
4
  For example, the parties agreed to discuss custodians and terms to search emails that are
responsive to each other’s discovery requests; that process is not yet completed.

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       B.      ResearchGate cannot exclude important discovery by imposing an arbitrary
               time-period limitation.

ResearchGate inappropriately limits almost all of its responses to the time period of October 2,
2015 to the present. See, e.g., ResearchGate’s Responses and Objections to Plaintiffs’ First
Request for Production of Documents Nos. 1-53, 56-66. ResearchGate contends that documents
pre-dating October 2, 2015, three years prior to the filing of the Complaint, are not relevant
because the applicable statute of limitations is three years. Its position has no legal basis.

The statute of limitations does not limit the relevance of the documents nor curtail a defendant’s
discovery obligations. See, e.g., Arista Records LLC v. Lime Group LLC, 784 F. Supp. 2d 398,
418-19 (S.D.N.Y. 2011) (holding that documents pre-dating statute of limitations period was
“relevant to the determination of Defendants’ state of mind, including whether they were aware
of . . . users’ infringing activities and whether they intended to facilitate those activities within
the limitations period”); Khan v. Sanofi-Synthelabo, Inc., No. 01CIV.11423JSMDF, 2002 WL
31720528, at *4 (S.D.N.Y. Dec. 3, 2002) (“[T]he discovery sought should not be limited
arbitrarily by any statute of limitations . . . .”). The massive infringement on or after October 2,
2015 resulted in material part from ResearchGate’s actions, infrastructure, knowledge, and intent
preceding that date. The discovery sought here has a direct bearing on the liability and damages
issues in suit, including the scope of ResearchGate’s infringing activity, its knowledge of
infringement, and its intent to infringe. ResearchGate cannot hide behind the statute of
limitations to avoid its discovery obligations.

While ResearchGate has suggested it would consider an exception to its general position only for
a small subset of Plaintiffs’ requests (namely, Plaintiffs’ Interrogatory No. 15 and Plaintiffs’
Request for Production Nos. 2, 8, 9, 11-12, and 14), that is not sufficient. For those requests
only, ResearchGate indicated it may be willing to produce documents dated before October 2,
2015 that relate to how the works in suit appearing on ResearchGate’s website after October 2,
2015 were uploaded to ResearchGate’s website. But ResearchGate is not entitled to prevent
Plaintiffs from uncovering the scope of ResearchGate’s infringement and the means by which it
obtained Plaintiffs’ copyrighted works. That is exactly what it is doing in seeking to limit its
response only to the works currently in suit. Further, it is unacceptable for ResearchGate to
continue delaying production of documents for which it does not oppose production.

The Court should compel ResearchGate to produce documents responsive to Plaintiffs’ requests
without withholding any responsive documents pre-dating October 2, 2015.

       C.      ResearchGate’s cannot limit its production to non-email documents.

In response to Plaintiffs’ Request for Production Nos. 14, 37-39, 41, 45-47, 49, 52, and 60,
ResearchGate plans to produce only non-email documents it claims are sufficient to show the
requested information and thus refuses to produce responsive emails and other communications.
Such a flat objection to producing email is improper. These requests seek documents that would
shed light on ResearchGate’s intent, knowledge, and motives for infringement, including what
draws users to ResearchGate’s website and funding or financing for ResearchGate or its website.
Still other requests specifically seek communications, both internal and with users, about using



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and uploading Plaintiffs’ copyrighted works on ResearchGate’s website, as well as any
complaints from authors or allegations of infringement concerning articles appearing on
ResearchGate’s website. ResearchGate’s plan to produce only non-email documents sufficient
to show the requested information is wholly inadequate. A defendant such as ResearchGate is
often more forthcoming about its intent, knowledge, and actual conduct in email and other types
of digital communications (as opposed to formal written processes and policies). See, e.g., BMG
Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 655-56, 658 (E.D. Va.
2015) (finding that “Cox employees followed an unwritten policy” and that emails in the record
“strip[ped] Cox of any innocence” and made “clear” that Cox’s repeat infringer policy on the
books was an “absolute mirage” given how Cox acted), aff’d in relevant part, 881 F.3d 293 (4th
Cir. 2018). ResearchGate cannot cherry-pick and produce only documents favorable to it.

The Court should compel ResearchGate to produce documents responsive to Plaintiffs’ requests
without withholding responsive emails or other digital communications.

       D.      ResearchGate must produce documents regarding its creation of author
               pages and publication pages.

ResearchGate refuses to produce any documents responsive to Plaintiffs’ Request for Production
No. 31, which seeks documents on one of the ways in which ResearchGate has encouraged and
tricked authors into uploading copies of published journal articles to its website. ResearchGate
structures its website with various pages, such as “author pages” profiling a particular scientist or
researcher and “publication pages” corresponding to particular journal articles. These pages,
many or most of which are likely created by ResearchGate, are essentially the infringing DNA
for the website—a tree structure dedicated to copyrighted works that ResearchGate knows
should not be uploaded or downloaded on its website. ResearchGate nonetheless uses it as the
vehicle for drawing eyeballs to infringing copies of Plaintiffs’ copyrighted works and for
prompting authors—through emails and other means—to upload or endorse the prior upload of
Plaintiffs’ copyrighted works. In seeking documents showing the number of author and
publication pages created by a user versus ResearchGate, this request relates to ResearchGate’s
structural design for infringing activity and specifically seeks information quantifying the scale
of infringing activity on ResearchGate’s website.

The Court should compel ResearchGate to produce documents responsive to Plaintiffs’ Request
for Production No. 31 regarding ResearchGate’s creation of author pages and publication pages.

Thank You for Your consideration of these issues.

                                                      Respectfully submitted,

                                                      /s/ Scott A. Zebrak

                                                      Scott A. Zebrak

cc: Counsel of Record (via ECF)




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